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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
THE UNITED STATES OF AMERICA,             )
ex rel. BILLY JOE McLAUGHLIN,             )
                                          )                  Civil Action No.
             Plaintiff,                   )                  19-11963-FDS
                                          )
             v.                           )
                                          )
FLEMIN ORTIZ,                             )
                                          )
             Defendant.                   )
__________________________________________)

              ORDER ON MOTION FOR AWARD OF ATTORNEY’S FEES

SAYLOR, C.J.

       Under the False Claims Act, 31 U.S.C. § 3730, a qui tam plaintiff who recovers a share of

the “proceeds of the action or settlement of the claim” is entitled to an award of “reasonable

attorneys’ fees and costs” against the defendant. 31 U.S.C. §§ 3730(d)(1) and (2). Plaintiff

recovered a share of the settlement proceeds paid by defendant to the government. (Pl. Mem. at

3). Therefore, he is entitled to an award of reasonable attorney’s fees against defendant. After

review of the materials submitted, and in the absence of any opposition, the Court finds that that

the requested amount is reasonable.

       Accordingly, plaintiff’s motion for an award of attorney’s fees is GRANTED. Plaintiff is

awarded $13,900 in attorney’s fees from defendant.




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So Ordered.



                                          /s/ F. Dennis Saylor IV
                                          F. Dennis Saylor IV
Dated: November 4, 2020                   Chief Judge, United States District Judge




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